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                                UNITED STATES DISTRICT COURT
                                    Northern District of Illinois
                                    219 South Dearborn Street
                                      Chicago, Illinois 60604

Thomas G. Bruton                                                                      312-435-5670
Clerk




01/03/2021


Addressee Information:
Corey Thomas Hickman
Cozen O'Connor
123 N. Wacker Drive
Suite 1800
Chicago, IL 60606




RE: US Foods, Inc. v. SRG South Hills, LLC et al
USDC Case Number: 1:21-cv-06915

Dear Counselor:

The records of this office indicate that on 12/30/2021 a notice of removal pursuant to 28 USC
1441 et seq. was filed with this court in connection with the above referenced matter. The notice
lists the circuit court case number as 2021L011692. The documents filed with the notice of
removal list you as counsel for the plaintiff.

The purpose of this letter is to inform you that the Local Rules of this Court require that an
appearance form be filed by an attorney who intends to represent a party in any proceeding
before this Court. For your convenience, a copy of this form is located on the District Court
website at http://www.ilnd.uscourts.gov/OnlineForms.aspx.

                                              Sincerely,
                                              Thomas G. Bruton, Clerk

                                              By: /s/Roberto Cornejo
                                                 Deputy Clerk


Rev. 09/23/2016
